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                                                                           August 19, 2022

                              Smith et al. v. Annucci et al.
                    1:21-cv-01715-RA [rel. 1:17-cv-07954-RA-OTW]

Dear Judge Wang:

                 We write regarding this Court’s August 16, 2022 Order setting the
deadline for completing fact discovery to October 18, 2022. (ECF No. 152.) Although
Plaintiffs initiated this action a year and a half ago, discovery has only recently begun in
earnest. Defendants did not complete their representational analysis until January 12,
2022 (ECF No. 123), and Defendants did not begin producing “a substantial volume of
responsive materials” until May 2022 (ECF No. 142). Defendants have not produced any
documents since the parties last status letter on July 29, 2022 (ECF No. 150). Although
Defendants have collected and are now reviewing ESI responsive to Plaintiffs’ requests,
they have not yet produced any ESI to Plaintiffs. Moreover, because document
productions are still in process, the parties have not yet started taking depositions.

                Given the current status of fact discovery, the parties respectfully seek an
adjournment of the current fact discovery deadline of October 18, 2022. Defendants have
committed to completing document production responsive to Plaintiffs’ first set of
document requests by October 1, 2022, and, with Your Honor’s consent, the parties hope
to begin depositions as soon as practicable once those productions are complete. The
parties thus respectfully request that the Court postpone setting a deadline for completion
of fact discovery until the upcoming October 18 status conference.
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                                               Respectfully,



                                               /s/ David M. Stuart.
                                               David M. Stuart
                                               Attorney for Plaintiffs

                                               /s/ Andrew Blancato
                                               Andrew Blancato
                                               Attorney for Defendants

The Honorable Ona T. Wang
   United States District Court for the Southern District of New York
      Daniel Patrick Moynihan United States Courthouse
          500 Pearl St., Room 20D
              New York, NY 10007

VIA CM/ECF
